             IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF ALABAMA
                      SOUTHERN DIVISION

                                        )
UNITED STATES OF AMERICA                )
                                        )
v.                                      )
                                        ) CRIMINAL NO. 15-00102-CG-B
DSD SHIPPING, A.S.,                     )
DANIEL PAUL DANCU,                      )
BO GAO,                                 )
XIAOBING CHEN, and                      )
XIN DHONG                               )

               Defendant

                                   ORDER

      This matter is before the Court on the motion to suppress filed by

Defendant DSD Shipping, AS (“DSD Shipping”) (Doc. 63) and the response

filed by the United States (Doc. 104). DSD Shipping requests suppression of

two categories of seized evidence: (1) evidence obtained during the

warrantless inspection of the M/T Stavanger Blossom, and (2) materials from

mirror images of three hard drives seized pursuant to a warrant. Three other

Defendants, Daniel Paul Dancu (Doc. 85), Xiaobing Chen (Doc. 66) and Xin

Dhong (Doc. 70), filed motions to adopt the motion to suppress. The Court

granted the motions to adopt as to Dancu (Doc. 88), Chen (Doc. 79), and

Dhong (Doc. 80). For the reasons stated herein, Defendants’ motion to

suppress is due to be DENIED.

I.    BACKGROUND

      On April 30, 2015, a grand jury returned a seven-count indictment
(Doc. 1) against DSD Shipping Co., AS; Daniel Paul Dancu; Bo Gao; Xiaobing

Chen; and Xin Zhong.1 The indictment charges defendants with various

offenses relating to the alleged failure to maintain, or intentional falsification

of, the required Oil Record Book (the “ORB”) on the Vessel, and obstruction of

the Coast Guard's investigation of unlawful discharges of oily mixtures.

      On November 8, 2014, the U.S. Coast Guard received an email from a

crewmember onboard the M/T Stavanger Blossom alleging that the crew

installed a bypass pipe on the vessel. (Doc. 63, Exh. 1). The bypass pipe,

known as a “magic pipe,” allegedly allowed oily-water from the vessel’s bilge

tank to bypass the Oily-Water Separator (OWS) and discharge overboard.2 Id.

The crewmember, identified as Rolando Babon, wrote that the Second

Engineer ordered the crew to clean the sludge tank and place the oily waste

in plastic bags. Babon stated the crew collected at least 90 bags and

subsequently threw the bags overboard. Id.

      On or about November 12, 2014, the M/T Stavanger Blossom docked

at the Plains Terminal in Mobile, Alabama, a port within the jurisdiction of

the Southern District of Alabama. (Doc. 63, Exh. 2, p. 1). Around 7:30 am, the



1 DSD Shipping, headquartered in Norway and Singapore, operates a fleet of

oil tankers, including the M/T Stavanger Blossom. (Doc. 63, p. 2).
2 “ “Bilge water” is the mixture of oil and water that accumulates in the

“bilge”—or bottom—of a ship. All of the oil, fuel and other liquids that drip or
leak from machinery during the ship's normal operation, and any seawater
that leaks into the ship, ultimately flow downward into the bilge. A ship must
periodically discharge that bilge water so that it does not rise to a level where
it endangers the safety of the vessel and its crew.” United States v. Pena, 684
F.3d 1137, 1142 (11th Cir. 2012).

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U.S. Coast Guard boarded the vessel without a warrant and went to the

ship’s office.3 Id. At the ship’s office, the Coast Guard met the ship’s master

Laurentiu Florea and Chief Engineer, Defendant Daniel Paul Dancu

(“Dancu”). Id. The Coast Guard informed the two men of the reason for the

visit and stated that the Coast Guard would need to access the vessel’s log

equipment and the crew during the exam. Id.

      Coast Guard officers met with Dancu and reviewed the ship’s Oil

Record Book (ORB). (Doc. 63, Exh. 2) In the initial inspection of the ORB,

officers found no entries recording any direct discharges of oily-water or

waste oil overboard without first being processed through the OWS. Id. As

officers reviewed the records, Dancu explained that Defendant Xin Zhong, the

ship’s fourth engineer, obtained soundings of the vessel’s tanks and entered

them into an electronic “Daily Sounding Log” on the vessel’s computer.4 Id.

Dancu printed the vessel’s Daily Sounding Log for August 2014 through

November 2014 and provided it to the officers. Dancu further explained that

he reviewed the electronic logs and then recorded tank measurements in the

ORB. Id.

      While the Coast Guard officers reviewed the ORB, a second team of

Coast Guard officers examined the vessel’s machinery in the Engine Room.


3 Port State Control examinations are specifically authorized by 33 C.F.R. §

153.23(a)(3), which allows the Coast Guard to search a vessel.
4 “A ‘sounding’ is a measurement of the fluid level in a given tank or

compartment.” United States v. Fleet Mgmt., Ltd., No. CRIM.A. 07-279, 2009
WL 2581710, at *1 (E.D. Pa. Aug. 20, 2009).



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(Doc. 63, Exh. 2, p. 1). Those officers began their engine room inspection at

the ship’s incinerator. Coast Guard Investigating Officer Shane Hunt

reported that the area around the incinerator appeared clean and in good

working order. (Doc. 63, Exh. 2, p.1). The ship’s Fourth Assistant Engineer

made several unsuccessful attempts to burn sludge, but the incinerator was

not at the proper operating temperature of 800 degrees Fahrenheit. Id. While

waiting for the incinerator to warm, the Coast Guard investigators turned to

the ship’s OWS system. Id. Investigator Hunt noticed that the discharge

piping from the OWS had recently been painted, despite all other sections of

the OWS piping being dirty and untouched. Id.

      Shortly after their arrival on the vessel, the whistleblower, Babon,

passed the Coast Guard investigators a flash drive containing photographs

and video of the alleged oil dumping. (Doc. 63, Exh. 2, p. 2). Officers

immediately reviewed the flash drive and found photos of the bypass pipe

reported by Babon.5 Id. The photos also showed the crew cleaning the vessel’s

Fuel Oil Sludge Tank, and numerous full plastic bags sitting outside the

tank. Id. The flash drive also contained a video of the tank’s cleaning process

and the ship’s radar showing latitude and longitude. Id. After viewing the

video, Investigator Hunt ordered LTJG Langston and CWO Rushton to

return to the engine room to attempt to locate the “magic pipe.” Id.

      As other officers searched for the removed pipe, Coast Guard officers


5 For the purposes of this order, the terms “magic pipe” and “bypass pipe” are

used interchangeably.

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interviewed crewmembers regarding the “magic pipe” and discharges of oil.

Id. Beginning alphabetically, the Coast Guard first interviewed the

whistleblower, Rolando Babon. Id.

      Babon confirmed that he emailed the Coast Guard prior to the vessel’s

arrival in Mobile. Babon explained that the crew previously installed a

bypass pipe on the OWS piping and connected the pipe to the vessel’s

overboard discharge valve. Id. According to Babon, Defendant Xiaobing Chen

ordered him to fabricate a new discharge pipe and replace the bypass pipe

before the vessel came to the United States. Id. Babon stated that he removed

and replaced the bypass pipe as ordered, and placed the pipe in the vessel’s

Central Stores. Id. Babon further explained that Engine Room crewmembers

cleaned out the Fuel Oil Sludge Tank before arriving in the Port of Mobile.

Babon stated that the crew filled plastic bags with sludge and threw the bags

overboard in the Gulf of Mexico. Id. The Coast Guard also interviewed

crewmember Keith Enong, who confirmed that he observed crewmembers

throwing plastic bags of sludge overboard. (Doc. 63, Exh. 2, p.3).

      With information from Babon, Coast Guard officers returned to the

engine room and found the bypass pipe in a storage closet. Id. Officers

observed that the pipe appeared to have oil residue inside. Id. The officers dry

fit the bypass pipe to the OWS piping and found it fit. Id. Coast Guard

officers also obtained oil samples from the Engine Room storage tanks,

including a sample from inside the bypass pipe and a sample from inside the




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overboard discharge valve.6 Id. The officers sampled this valve and found a

black liquid substance inside. Id.

      After securing evidence in their vehicle, the Coast Guard re-boarded

the M/T Stavanger Blossom. (Doc. 63, Exh. 2, p.5). With assistance from the

vessel’s crewmembers, the Coast Guard removed the overboard discharge

valve, disassembled it, and took samples from inside the valve. Id.

Subsequent testing of the samples confirmed that the substance observed in

the bypass pipe and overboard discharge valve was oil. Id.

      Officers also compared the vessel’s ORB to the rough sounding logs

found in the engine room and the Daily Sounding Logs provided by Dancu.

Id. An initial inspection of the records found the rough logs and Daily

Sounding Logs to be consistent. Id. However, both logs were inconsistent with

the ORB. Coast Guard officers also stated they found incorrect entries for the

Bilge Tank, a tank that stores waste oil generated during vessel operations

and water that collects in the bilge of the vessel. Id.

      Prior to leaving the vessel, Coast Guard officers issued the vessel two

detainable deficiencies for the inaccurate ORB and the bypass pipe. Officers

also seized evidence of the violations, including: the computer from the chief

engineer’s office; the engine room control computer; the vessel’s computer

server; the ORB, Garbage Record Book, Engine Room alarm logs, and other

log books and engine room documents; vessel and piping diagrams; the


6 The overboard discharge valve connects to the exterior of the vessel and

allows fluids to discharge from the vessel into the ocean.

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bypass pipe; and the pipe installed to replace the bypass pipe. (Doc. 63, Exh.

6).

       On November 13, 2014, Coast Guard officers returned to the vessel and

installed the alleged bypass pipe between the three-way valve and the

overboard discharge valve. (Doc. 63, Exh. 2, p. 5). The alleged bypass pipe fit

into place. Id.

       On November 14, 2014, agents from the Coast Guard and the Criminal

Investigations Division for the United States Environmental Protection

Agency (“EPA CID”) retrieved materials collected by Investigator Hunt and

Kira Moody during their boarding of the vessel. (Doc. 63, Exh. 7, p. 1).

       On November 15, 2014, the Coast Guard forensically imaged the M/T

Stavanger Blossom’s Vessel Bridge server, an HP Prolant with serial number

CZ114500FD; a Compaq computer, with serial number CZC1970JZN from

the Chief Engineer’s stateroom; and an HP Compaq computer with serial

number CZC1470JZN from the vessel’s Engine Control Room. (Doc. 63, Exh.

8). The government then returned the computers to Defendant DSD

Shipping. (Doc. 104, p. 7).

       On November 25, 2014, United States Magistrate Judge Sonja F.

Bivins issued a search warrant authorizing the search of the imaged hard

drives. (case number MJ 14-00105-B; Doc. 63, Exh. 5). Under the heading of

“identify the person or describe the property to be seized,” the front of the

warrant stated “see attached affidavit.” Id. The warrant included an affidavit




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with two attachments, Attachment A described the three hard drives that the

government requested to search and Attachment B included a description of

the information sought in the search. Id. Law enforcement officers

subsequently searched the imaged hard drives for specific items of evidence

as identified in the warrant. Id.

      In its motion to suppress, Defendants’ arguments center on

Attachment B, which states:

      Evidence, fruits, and instrumentalities of the commission of
      felony violations of 18 U.S.C. § 371 (Conspiracy), 33 U.S.C §
      1908(a) (Knowing Failure to Maintain an Accurate Oil Record
      Book), 18 U.S.C. § 1519 (Falsification of Records), 18 U.S.C. §
      1505 (Obstruction of Justice). 33 U.S.C. §§ 1321 (b)(3) and (5)
      (Discharges of Oil and Failure to Report Discharges of Oil), and
      18 U.S.C. § 2 (Aiding and Abetting), including:

      1. Records, notes, ledgers, documents, and data contained and
         stored in computer memory on the mirror images of
         computers from the M/T STAVANGER BLOSSOM (described
         more particularly in Attachment A and the above paragraphs
         of this attachment) pertaining to: vessel speed, progress,
         schedule; compliance with environmental requirements;
         maintenance and operation of the oily water separator; waste
         oil management, storage and disposal; the contents, levels of,
         and volumes contained within storage tanks on board the
         vessel capable of containing oil (including but not limited to
         records of daily or periodic “soundings” indicating levels or
         volumes of liquids contained within the vessel’s storage
         tanks); pollution prevention requirements and equipment;
         fuel oil management, composition, acquisition, storage and
         consumption; engine condition, operation and maintenance;
         engine room crew assignments and work schedules regarding
         any of the subjects referred to in this paragraph; “diaries,”
         logs, or records of work performed in the engine room or
         engine department regarding any of the subjects referred to
         in this paragraph; communications between crew members
         regarding any of the subjects referred to in this paragraph;
         communications between any crew member and any shore-



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           side company representative regarding any of the subjects
           referred to in this paragraph.

        2. Evidence of user attribution showing who used or owned the
           computer at the time the things described in this warrant
           were created, edited, or deleted, such as logs, phone books,
           saved usernames and passwords, documents, and browsing
           history.

Exhibit 5 (Attachment B).

        The Court now considers Defendants’ motion to suppress. (Doc. 63).

II.     ANALYSIS

        The issue is whether the Coast Guard's search of the M/T Stavanger

Blossom violated the Fourth Amendment. Defendants request suppression of

two categories of seized evidence: (1) evidence obtained during the

warrantless inspection of the M/T Stavanger Blossom, and (2) data from

three hard drives seized pursuant to a warrant.

        The Fourth Amendment protects “[t]he right of the people to be secure

in their persons, houses, papers, and effects, against unreasonable searches

and seizures.” U.S. Const. amend. IV. Under the exclusionary rule, evidence

derived from a search that violates the Fourth Amendment cannot be used in

a criminal trial against the victim of the illegal search and seizure. United

States v. Perkins, 348 F.3d 965, 969 (11th Cir. 2003).


      A. The Warrantless Vessel Search

         The Supreme Court has stated, “the Fourth Amendment does not

protect subjective expectations of privacy that are unreasonable or otherwise

illegitimate.” New Jersey v. T.L.O., 469 U.S. 325, 105 S.Ct. 733, 742, 83


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L.Ed.2d 720 (1985). “To receive the protection of the Fourth Amendment, an

expectation of privacy must be one that society is ‘prepared to recognize as

legitimate.’ ” Id. (quoting Hudson v. Palmer, 468 U.S. 517, 104 S.Ct. 3194,

3200, 82 L.Ed.2d 393 (1984)). The requirement for a justifiable expectation of

privacy is two-fold. United States v. Lopez, 761 F.2d 632, 635 (11th Cir.

1985). Defendants must show an actual or subjective expectation of privacy

in the area searched and the expectation must be one that “society is

prepared to recognize as ‘reasonable.’ ” Hudson, 104 S.Ct. at 3199 (quoting

Katz v. United States, 389 U.S. 347, 361, 88 S.Ct. 507, 516, 19 L.Ed.2d 576

(1967) (Harlan, J., concurring)).

      Privacy interests at sea may be more restrictive than those applicable

on land. United States v. Thompson, 928 F.2d 1060, 1064 (11th Cir. 1991)

(“At sea, a person's expectation of privacy may be severely restricted

compared with expectations of privacy on land.”) Often, privacy interests on

vessels are limited because Coast Guard officers may board a vessel without

permission to conduct a safety and document search as well as gain access to

all common areas of a boat. Lopez, 761 F.2d at 635 (“It is not sufficient, for

example, that a sailor have the right to exclude others from a ship in order to

have a legitimate expectation of privacy, because a Coast Guard officer may

board without permission to conduct a safety and document search and gain

access to all common areas of a boat.”); see also, United States v. Herrera,

711 F.2d 1546, 1553 (11th Cir. 1983).




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      Therefore, courts have held that “neither captain nor crew has a

legitimate expectation of privacy ... in an area which is subject to the common

access of those legitimately aboard the vessel.” United States v. Freeman, 660

F.2d 1030, 1034 (5th Cir. Unit B 1981). Such common areas have been held to

include cargo holds, United States v. Williams, 617 F.2d 1063 (5th Cir. 1980);

ice holds, United States v. DeWeese, 632 F.2d 1267 (5th Cir. 1980); and

engine rooms, United States v. Stuart-Caballero, 686 F.2d 890 (11th Cir.

1982), cert. denied, 459 U.S. 1209, 103 S.Ct. 1202, 75 L.Ed.2d 444 (1983).

This does not mean, however, that a sailor lacks an expectation of privacy in

any area of a ship; living and sleeping quarters of the crew, United States v.

Whitmire, 595 F.2d 1303, 1312 (5th Cir. 1979), and private spaces such as

dufflebags and footlockers, United States v. DeWeese, supra, 632 F.2d at

1271, have been held to be sufficiently private as to confer Fourth

Amendment standing upon those with dominion over them when they are

subjected to search.

      In the instant case, the Coast Guard confined their search to the ship’s

office and the engine room, which are common areas. See e.g, Stuart-

Caballero, supra, 686 F.2d at 892. Defendants argue that the Coast Guard

had no authority to search the storage closet, where they found the alleged

“magic pipe.” The Court disagrees. Once on board, the Coast Guard has the

authority to search all common areas of the ship. United States v. DeWeese,

632 F.2d 1267, 1270-71 (5th Cir. 1980), cert. denied, -- U.S. --, 102 S.Ct. 358,




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70 L.Ed.2d 188 (1981). The storage closet, located in the vessel’s Central

Stores is part of the common area of the vessel. In similar cases, the Eleventh

Circuit upheld searches of non-personal compartments. See e.g., United

States v. Thompson, 928 F.2d 1060, 1065-66 (11th Cir. 1991) (“The storage

compartment searched is unlike a personal knapsack or duffel bag. The

storage compartment, while below the v-berth mattress, is primarily used to

hold the boat's equipment, not personal items.”); United States v. Stuart-

Caballero, 686 F.2d 890, 892 (11th Cir. 1982) (warrantless search of the

engine room and two forward cargo holds constitutional). Therefore, because

the Defendants had no expectation of privacy in the storage closet, they lack

standing to bring a Fourth Amendment challenge.

      Furthermore, even if the foregoing analysis is incorrect and

Defendants have standing to raise a Fourth Amendment claim, the search

was consistent with constitutional standards.

      Title 14 U.S.C.A. § 89(a) grants Coast Guard officers broad authority to

make safety and document inspections without suspicion of criminal

activity.7 United States v. Williams, 617 F.2d 1063, 1086 (5th Cir. 1980) (en



7 In its relevant part, the statute states:



      The Coast Guard may make inquiries, examinations,
      inspections, searches, seizures, and arrests upon the high seas
      and waters over which the United States has jurisdiction, for the
      prevention, detection, and suppression of violations of laws of
      the United States, For such purposes, commissioned, warrant,
      and petty officers may at any time go on board of any vessel
      subject to the jurisdiction, or to the operation of any law, of the

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banc); United States v. Odom, 526 F.2d 339 (5th Cir. 1976). Once on board a

vessel, a limited search is permissible on a reasonable suspicion of criminal

activity. Lopez, 761 F.2d at 636 (citations omitted). Courts determine

reasonable suspicion by considering the totality of the circumstances and

evaluate whether there is reasonable suspicion based on specific and

articulable facts which, taken together with rational inferences drawn from

those facts, reasonably warrant suspicion of criminal activity. United States

v. Roy, 869 F.2d 1427, 1430 (11th Cir. 1989) (citing United States v. Brignoni-

Ponce, 422 U.S. 873, 884 (1975)).

      A more expansive “stem to stern” vessel search requires the existence

of probable cause that a crime has been, or is being, committed. Lopez, 761

F.2d at 636 (citations omitted). In general, courts determine whether

probable cause existed by considering whether there were facts and

circumstances known to law enforcement officials which could have

warranted their reasonable belief that a crime had been or was being

committed, United States v. Long, 674 F.2d 848 (11th Cir. 1982), or whether

viewing such facts in their totality, together with the synthesis of what the


      United States, address inquiries to those on board, examine the
      ship's documents and papers, and examine, inspect, and search
      the vessel and use all necessary force to compel compliance.
      When from such inquiries, examination, inspection, or search it
      appears that a breach of the laws of the United States rendering
      a person liable to arrest is being, or has been committed, by any
      person, such person shall be arrested ...

14 U.S.C. § 89(a).



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agents collectively heard, knew and observed, all considered in light of the

agents’ individual experiences, there was the probability that criminal

activity was afoot. United States v. Agostino, 608 F.2d 1035 (5th Cir. 1979).

      In addition to § 89(a)’s broad grant of authority to enter a vessel, the

Act to Prevent Pollution from Ships (“APPS”), 33 U.S.C. §§ 1901 et seq. also

provides the Coast Guard with specific authority to investigate potential oil

pollution. The APPS makes it a crime for any person to knowingly violate the

International Convention for the Prevention of Pollution from Ships, as

modified by the Protocol of 1978 (“MARPOL”). The United States Coast

Guard is specifically authorized to examine a vessel and its Oil and Garbage

Record Books for compliance with MARPOL and APPS. 33 U.S.C. §1907(d);

33 C.F.R. § 151.23(a)(3) and (c); MARPOL Protocol, Annex V, Regulation 9(5);

and 33 C.F.R. § 151.61(a) and (c).

      In this case, the Coast Guard received information from a

whistleblower concerning possible violations of MARPOL. When the M/T

Stavanger Blossom arrived at port in Mobile, the Coast Guard boarded to

investigate. After reviewing the ORB, the Coast Guard personnel visited the

engine room, where they noticed a section of piping around the OWS that had

been freshly painted. A crewmember and whistleblower, Rolando Babon, then

gave the Coast Guard a flash drive of photographs and video of the alleged oil

dumping. Another crewmember, Enong, confirmed that he too saw the crew

collect plastic bags of sludge and cast the bags overboard. Armed with both




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the information of the recently painted area near the OWS and that provided

by two crewmembers, the Coast Guard personnel interviewed the engine

room staff regarding the questionable activity. Under these circumstances, it

is evident that the Coast Guard had probable cause to conduct a stem to

stern search of the M/T Stavanger Blossom.

      In their motion, Defendants suggest that the Supreme Court’s recent

holding in City of Los Angeles v. Patel, 576 U.S. ___, 135 S. Ct. 2443, 2446

(2015), alters the Coast Guard’s ability to board and search a vessel for

evidence of marine pollution. In particular, Defendants argue that because

the Coast Guard’s motive was a criminal investigation that it needed warrant

to enter the vessel and that Defendants were entitled to a pre-compliance

review. The Court rejects both of these assertions.

      First, an ulterior motive for entering a vessel does not strip the Coast

Guard of its broad statutory authority to board a vessel. In United States v.

Villamonte–Marquez, the Supreme Court held that an otherwise valid

warrantless boarding of a vessel by customs officials was not rendered invalid

“because the customs officers were accompanied by a Louisiana state

policeman, and were following an informant's tip that a vessel in the ship

channel was thought to be carrying marihuana.” 462 U.S. 579, 584, n. 3, 103

S.Ct. 2573, 2577, n. 3, 77 L.Ed.2d 22 (1983). In Whren v. United States, the

Supreme Court recognized that in Villamonte-Marquez, “[w]e flatly dismissed

the idea that an ulterior motive might serve to strip the agents of their legal




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justification.” 517 U.S. 806, 812, 116 S.Ct. 1769, 1774, 135 L. Ed. 2d 89

(1996).

      Second, as to pre-compliance review, Defendants suggest that the

Supreme Court’s recent holding in City of Los Angeles v. Patel renders the

Coast Guard’s warrantless search unconstitutional. City of Los Angeles,

Calif. v. Patel, 135 S. Ct. 2443, 2446 (2015). In its extensive argument

concerning Patel, Defendants skim over a critical difference between their

situation and that of the hoteliers in Patel. That difference is hotels are in a

fixed location, ocean-going vessels are not. An ocean-going vessel could leave

at any moment and these exigent circumstances make the search

categorically different from Patel. See U.S. v. Freeman, 579 F.2d 942, 947

(5th Cir. 1978) (stating “there is a substantial distinction between a

landlocked vehicle and a nautical vessel for Fourth Amendment purposes.”)

There is a long-held recognition of the differences between the necessity of

the Coast Guard to make warrantless examinations of vessels. See U.S. v.

Williams, 617 F.2d 1063 (5th Cir. 1980) (discussing the 200 year history of

the necessity for officials to conduct searches of vessels). Defendants also

argue that unlike the vessel in Villamonte-Marquez, a case where the

Supreme Court found a Coast Guard search of a vessel 20 miles off shore

constitutional, the M/T Stavanger Blossom had set anchor in the Port of

Mobile. (Doc. 63, p. 12 – 13). In this case there are exigent circumstances.

“[I]t is well established that “exigent circumstances,” including the need to




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prevent the destruction of evidence, permit police officers to conduct an

otherwise permissible search without first obtaining a warrant.” Kentucky v.

King, 131 S. Ct. 1849, 1853-54, 179 L. Ed. 2d 865 (2011). Although the text of

the Fourth Amendment does not specify when a search warrant must be

obtained, the Supreme Court has inferred that a warrant must generally be

secured. A basic principle of Fourth Amendment law is “ ‘that searches and

seizures inside a home without a warrant are presumptively unreasonable.’ ”

Brigham City v. Stuart, 547 U.S. 398, 403, 126 S.Ct. 1943, 164 L.Ed.2d 650

(2006) (quoting Groh v. Ramirez, 540 U.S. 551, 559, 124 S.Ct. 1284, 157

L.Ed.2d 1068 (2004)). However, the Supreme Court also recognizes that this

presumption may be overcome in some circumstances because “[t]he ultimate

touchstone of the Fourth Amendment is ‘reasonableness.’ ” Brigham City,

supra, at 403, 126 S.Ct. 1943; see also Michigan v. Fisher, 558 U.S. 45, 46,

130 S.Ct. 546, 548, 175 L.Ed.2d 410 (2009) (per curiam). One well-recognized

exception applies when “ ‘the exigencies of the situation’ make the needs of

law enforcement so compelling that [a] warrantless search is objectively

reasonable under the Fourth Amendment.” Mincey v. Arizona, 437 U.S. 385,

394, 98 S.Ct. 2408, 57 L.Ed.2d 290 (1978); see also Payton v. New York, 445

U.S. 573, 590, 100 S.Ct. 1371, 63 L.Ed.2d 639 (1980)(“[T]he Fourth

Amendment has drawn a firm line at the entrance to the house. Absent

exigent circumstances, that threshold may not reasonably be crossed without

a warrant”). What is relevant in this case is the exigency “to prevent the




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imminent destruction of evidence” has long been recognized as a sufficient

justification for a warrantless search. Brigham City, supra, at 403, 126 S.Ct.

1943; see also Georgia v. Randolph, 547 U.S. 103, 116, n. 6, 126 S.Ct. 1515,

164 L.Ed.2d 208 (2006); Minnesota v. Olson, 495 U.S. 91, 100, 110 S.Ct. 1684,

109 L.Ed.2d 85 (1990). A pre-compliance review period in this case might

have allowed time for the destruction of evidence.

      Notably, the old Fifth Circuit stated that it was not even necessary for

exigent circumstances to exist for a Coast Guard search: “the practical

problems that would be created by requiring the Coast Guard to obtain a

warrant to conduct a search on the high seas … or by requiring the

Government to litigate the issue of “exigent circumstances” in every case

where there is a warrantless search will likely eviscerate the Coast Guard’s

ability to combat drug smuggling.” U.S. v. Williams, 617 F.2d 1063, 1087 (5th

Cir. 1980)8. Rather, that court adopted the aforementioned “reasonable

suspicion” as the appropriate Fourth Amendment standard by which to judge

section 89(a) searches of the “private” areas of a vessel. Id. at 1088. As

mentioned, the Court found probable cause for the search, which exceeds the

minimum standard required by the law. Thus, without any persuasive

argument to the contrary, the Court disagrees with Defendants’ suggestion

that the Patel holding alters the Coast Guard’s ability to conduct warrantless


8 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981) (en

banc), the Court adopted as binding precedent all decisions of the former
Fifth Circuit handed down prior to October 1, 1981.
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safety inspections of vessels.



   B. The Warrant

      Defendants also attack the validity of the warrant used to search and

seize data from the hard drives of the M/T Stavanger Blossom’s Vessel

Bridge server; a Compaq computer, from the Chief Engineer’s stateroom; and

an HP Compaq computer from the vessel’s Engine Control Room. Defendants

argue that the warrant was neither sufficiently particular nor carried out in a

reasonable manner.

      The Fourth Amendment requires that every warrant particularly

describe two things: “the place to be searched” and the “persons or things to

be seized.” U.S. Const. amend. IV.

      First, a warrant must describe the things to be seized with sufficient

particularity so that the precise language informs officers how to separate

properly seized items from irrelevant items. Marron v. United States, 275

U.S. 192, 196, 48 S.Ct. 74, 72 L.Ed. 231 (1927). However, “elaborate

specificity is unnecessary.” United States v. Betancourt, 734 F.2d 750, 754

(11th Cir. 1984). “The description is considered sufficiently particular when it

enables the searcher to reasonably ascertain and identify the things

authorized to be seized.” Id. at 754–55 (citation and internal quotation marks

omitted). This requirement does not necessitate technical perfection; instead,

it is applied with “a practical margin of flexibility.” United States v. Bradley,




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644 F.3d 1213, 1259 (11th Cir. 2011)(quoting United States v. Wuagneux, 683

F.2d 1343, 1349 (11th Cir. 1982)). Second, the description of the things to be

seized should be limited to the scope of probable cause established in the

warrant. Together, these elements forbid agents from obtaining general

warrants. A general order to search through a person’s belongings is not

permissible under the Fourth Amendment. See Coolidge v. New Hampshire,

403 U.S. 443, 467 (1971) (A warrant is impermissibly overbroad if it

authorizes “a general, exploratory rummaging in a person's belongings.”)

Instead, a warrant requires agents to conduct narrow seizures that attempt

to “minimize[] unwarranted intrusions upon privacy.” Andresen v. Maryland,

427 U.S. 463, 482 n.11 (1976).

      Where, as here, the property to be searched is a computer hard drive,

the particularity requirement assumes even greater importance. Not only

does a computer contain a vast storage capability far exceeding any office file

cabinet, but also an individual’s interaction with the computer may extend to

all areas of their private life. United States v. Carey, 172 F.3d 1268, 1275

(10th Cir. 1999)(“Relying on analogies to closed containers or file cabinets

may lead courts to ‘oversimplify a complex area of Fourth Amendment

doctrines and ignore the realities of massive modern computer storage.’ ”)

(internal citations omitted). As a result, technology presents unique

challenges in the application of the Fourth Amendment. With warrants for

digital searches, there is a difficult balancing act of the warrant being




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sufficiently particular, while also recognizing that the contents of most files

will not be revealed until opened and thus, searched.

      In this case, Defendants make three arguments on why the warrant is

insufficiently particular. First, Defendants argue that Attachment B of the

warrant failed to include temporal restrictions and thus, renders the entire

warrant invalid. (Doc. 63). Defendants claim that “relevant dates are

available, the search warrant must include temporal restrictions.” (Doc. 63, p.

17). However, Defendants cite no binding precedent to support the assertion

that temporal restrictions are a mandatory requirement of a digital search.9



9 Defendants cite four cases in support of their contention that a temporal

restriction is a mandatory element of a data search. First, Defendants cite
United States v. Ford, 184 F.3d 566, 576 (6th Cir. 1999), which states,
“[f]ailure to limit broad descriptive terms by relevant dates, when such dates
are available to the police, will render a warrant overbroad.”). The Ford case
involved the raid of a bingo hall where officers seized paperwork from back
the mid-80s before the bingo hall owner purchased the business. Second,
Defendants cite United States v. Kow, 58 F.3d 423, 427 (9th Cir. 1995), where
a warrant authorized the wholesale seizure of all computers, including all
data, with no parameters whatsoever. Such is not the case here. Third,
Defendants cite United States v. Maali, 346 F. Supp. 2d 1226, 1243, wherein
the District Court found that the warrants sufficiently particular for
containing a time frame for the data collected. However, at no point does the
holding state outright that a temporal restriction is a mandatory element,
but rather the time frame as a factor amongst several reasons. Finally,
Defendants cite In re Search of 3817 W. West End, First Floor Chicago,
Illinois 60621, 321 F. Supp. 2d 953, 959 (N.D. Ill. 2004), which states
“[c]omputer technology affords a variety of methods by which the government
may tailor a search to target on the documents which evidence the alleged
criminal activity. These methods include limiting the search by date range;
doing key word searches; limiting the search to text or files or graphic files;
and focusing on certain software programs.” (emphasis added). Again, a
temporal restriction appears to be an element of determining particularity of
data seized, but the case law cited does not indicate temporal restrictions are
mandatory requirements.

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Rather, from the cases cited in Defendants’ motion, courts consider the

totality of the circumstances and in some cases, find that a temporal

restriction is part of a series of factors considered rather than a threshold

requirement.

      Furthermore, the affidavit specifically referenced September to

November 2014 as the period in which the alleged violations of federal law

occurred. Warrants may satisfy the requirements of the Fourth Amendment

through incorporation. United States v. Wuagneux, 683 F.2d 1343, 1351 n.6

(11th Cir.1982) (finding “We conclude the affidavit may be used to explain an

ambiguity in the terms of the warrant.”); see also, United States v.

Weinstein, 762 F.2d 1522, 1531 (11th Cir. 1985) (“An affidavit incorporated

into a warrant by express reference and attached to and accompanying the

warrant can cure ambiguity in the warrant itself.”) As set forth in United

States v. Curry, suitable words of reference incorporating [an] affidavit” are

phrases such as “see attached affidavit” or “as described in the affidavit.” 911

F.2d 72, 77 (8th Cir. 1990) (internal quotes omitted); accord United States v.

Tracey, 597 F .3d 140, 147–48 (3rd Cir. 2010) (incorporation must be “clear,”

using phrases such as “see Exhibit A sealed by Order of the Court” or

“specified in the annexed affidavit”) (internal quotes omitted). In this case,

under the heading of “identify the person or describe the property to be

seized,” the warrant clearly states, “see attached affidavit.” (Doc. 63, Exh. 5).

The Court concludes that this warrant was sufficiently incorporated by




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reference and the affidavit does include a temporal restriction for alleged

violations of federal law.

      In Attachment B, paragraph 2 the Court finds a second temporal

restriction. Attachment B, paragraph 2, lists the additional items to be

searched as “[e]vidence of user attribution showing who used or owned the

computer at the time the things described in this warrant were created,

edited, or deleted, such as logs, phonebooks, saved usernames and passwords,

documents, and browsing history.” (Doc. 63, Exh. 5) (emphasis added).

Defendants argue that this paragraph contained no parameters for the

search. Yet, paragraph 2’s language states, “at the time the things in this

warrant were created…” While this parameter does not include an explicit

date, it does provide a temporal restriction when viewed in context of the

warrant. Thus, the Court disagrees with Defendants contention that the

warrant is presumptively invalid for lack of a temporal restriction.

      Second, Defendants claims the warrant lacked parameters on the

items and individuals to be searched and authorized only the collection of

general categories. The Court disagrees. Here, the exhaustive list contained

in Attachment B paragraph 1 is as particular as feasible under these

circumstances. Further, the long-held rule in this Circuit is “the particularity

requirement must be applied with a practical margin of flexibility, depending

on the type property to be seized, and that description of property will be

acceptable if it is as specific as the circumstances and nature of activity under




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investigation permit.” United States v. Wuagneux, 683 F.2d. 1343, 1349 (11th

Cir. 1982). All of the data requested directly relates to the crimes charged in

the indictment surrounding alleged oil dumping and failure to maintain an

accurate Oil Record Book. The warrant language is as particular as possible

under the circumstances without having reviewed the files.

      Defendants also argue Attachment B, paragraph 2, lacked parameters

concerning “the description of the items to be searched lacks identification of

the individuals being investigated and provides no means to distinguish data

and information relevant to the investigation from personal data and

information pertaining to the various members of the crew.” (Doc. 63, p. 18).

Attachment B, paragraph 2 lists the additional items to be searched as

“[e]vidence of user attribution showing who used or owned the computer at

the time the things described in this warrant were created, edited, or

deleted, such as logs, phonebooks, saved usernames and passwords,

documents, and browsing history.” (Doc. 63, Exh. 5) (emphasis added). The

Court disagrees with Defendants’ argument as the language clearly

references back to the warrant as a whole. The language of “at the time the

things in this warrant were created…” relies on the descriptions contained

within the warrant and is not a parameter-less search as Defendants aver.

       Finally, Defendants argue that the warrant cites statutes too broad to

provide any limitation. In support of this argument, Defendants cite an

Eighth Circuit case that found 18 U.S.C. § 371 as “too broad in scope to




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provide any real limitation on the warrant.” Rickert v. Sweeney, 813 F.2d

907, 908-09 (8th Cir. 1987). However, there are critical differences between

the present case and Rickert. In Rickert, the warrant at issue cited only

general statutes, the general conspiracy statute, 18 U.S.C. § 371, and two

general tax evasion statutes, 26 U.S.C. §§ 7201 and 7206(2). Rickert v.

Sweeney, 813 F.2d 907, 909 (8th Cir. 1987). Additionally, Rickert warrant

failed to incorporate the affidavit. Left only with overly broad statutory

authority, the Eighth Circuit rendered the search warrant invalid. Id.

      Here, however, the warrant properly incorporated the affidavit.

Attachment B cited a multitude of statutes relating to the falsification of

records, failure to maintain and accurate record book and discharge of oil and

failure to report discharges of oil. Section 371 is hardly the only statute

authorizing the search of the computers and the properly incorporated

affidavit contained specific limitations on the search. Thus, the Court is not

persuaded that the warrant was overly broad.

      Even if the foregoing analysis is incorrect, the evidence seized from the

hard drives would be admissible under the good faith exception to the

exclusionary rule. Under the exclusionary rule, “evidence seized as the result

of an illegal search may not be used by the government in a subsequent

criminal prosecution.” United States v. Martin, 297 F.3d 1308, 1312 (11th

Cir. 2002) (citing United States v. Calandra, 414 U.S. 338, 348 (1974)). The

good faith exception to the exclusionary rule allows admission of evidence




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obtained by police acting in reasonable reliance upon a search warrant.

United States v. Leon, 468 U.S. 897 (1984). In the ordinary case, an officer

cannot be expected to question the judge's probable-cause determination or

his judgment that the form of the warrant is technically sufficient. “[O]nce

the warrant issues, there is literally nothing more the policeman can do in

seeking to comply with the law.” Stone v. Powell, 428 U.S. 465, 498 (1976)

(Burger, C. J., concurring). The good faith exception applies in all but four

circumstances:

         (1) the magistrate or judge in issuing a warrant was misled by
         information in an affidavit that the affiant knew was false or
         would have known was false except for his reckless disregard
         of the truth; (2) where the issuing magistrate wholly
         abandoned his judicial role . . . ; (3) where the affidavit
         supporting the warrant is so lacking in indicia of probable
         cause as to render official belief in its existence entirely
         unreasonable; and (4) where, depending upon the
         circumstances of the particular case, a warrant is so facially
         deficient—i.e., in failing to particularize the place to be
         searched or the things to be seized—that the executing
         officers cannot reasonably presume it to be valid.

United States v. Cruse, 343 F. App'x 462, 464 (11th Cir. 2009)(citing Martin,

297 F.3d at 1313).

      Here, none of the circumstances discussed in Leon are present to

negate the good-faith exception. Based on the record, there is no evidence the

affidavit in support of the warrant contained false information. Further,

there is nothing indicating that the magistrate judge failed to act in a neutral

and detached manner.

      As mentioned, the Court found probable cause arising from a



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combination of the information provided by a whistleblower, the recently

repainted sections of the OWS system, and discrepancies between the ORB

and the sounding logs. (Doc. 63, Exh. 5). Finally, there is no compelling

evidence whatsoever that the warrant is so facially deficient that an

executing officer could not reasonably presume the warrant to be valid. The

warrant at issue incorporated the affidavit, which included an extensive

attestation to the circumstances surrounding the search. Additionally, the

two attachments also contained a particularized list of data sought in relation

to the alleged MARPOL violations. Therefore, the good faith exception to the

exclusionary rule would apply to this information as well.

      As a result of the foregoing analysis, Defendants’ motion to suppress

(Doc. 63) is DENIED.

      DONE and ORDERED this 2nd day of September, 2015.

                                       /s/ Callie V. S. Granade
                                       UNITED STATES DISTRICT JUDGE




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